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                                                                                                                                                English      List your property         Support        Trips       Sign in


    Stays      Flights       Cars       Vacation packages           Things to do          More travel



 Website Terms of Use

 Last Revised on June 16, 2020
 AGREEMENT BETWEEN CUSTOMER AND EXPEDIA, INC.

 Welcome to the Expedia.com website (the "Website"). This Website is provided solely to assist customers in gathering travel information,
 determining the availability of travel—related goods and services, making legitimate reservations or otherwise transacting business with travel
 suppliers, and for no other purposes. The terms "we", "us", "our", “Expedia” and "Expedia, Inc." refer to Expedia, Inc., a Washington corporation, and
 its subsidiaries and corporate affiliates, including Travelscape, LLC, (collectively, the "Expedia Companies"). “Expedia Partner” means any co-
 branded and/or linked website through which we provide links, content or service. The term "you" refers to the customer visiting the Website and/or
 booking a reservation through us on this Website, or through our customer service agents.

 This Website is offered to you conditioned upon your acceptance without modification of all the terms, conditions, and notices set forth below
 (collectively, the "Terms of Use” or "Agreement"). Please read these Terms of Use carefully, as they contain important information about
 limitations of liability and resolution of disputes through arbitration rather than in court. You should also read our Privacy Policy, which also
 governs your use of the Website, and is incorporated by reference in this Agreement. By accessing or using this Website, booking any reservations
 for travel products or services, or contacting our call center agents, you agree that the Terms of Use then in force shall apply. If you do not agree to
 the Terms of Use, please do not use or book any reservations through this Website or our call center agents.
 USE OF THE WEBSITE

 As a condition of your use of this Website, you warrant that:

 1. you are at least 18 years of age;
 2. you possess the legal authority to create a binding legal obligation;
 3. you will use this Website in accordance with these Terms of Use;
 4. you will only use this Website to make legitimate reservations for you or for another person for whom you are legally authorized to act;
 5. you will inform such other persons about the Terms of Use that apply to the reservations you have made on their behalf, including all rules and
    restrictions applicable thereto;
 6. all information supplied by you on this Website is true, accurate, current and complete; and
 7. if you have an Expedia.com account, you will safeguard your account information and will supervise and be completely responsible for any use of
    your account by you and anyone other than you.
 We retain the right at our sole discretion to deny access to anyone to this Website and the services we offer, at any time and for any reason,
 including, but not limited to, for violation of these Terms of Use.

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 DISPUTES; ARBITRATION

 Expedia is committed to customer satisfaction, so if you have a problem or dispute, we will try to resolve your concerns. But if we are unsuccessful,
 you or we may pursue claims as explained in this section.

 To give us an opportunity to resolve informally any disputes between you and us arising out of or relating in any way to the Website, these Terms of
 Use, our Privacy Policy, any services or products provided, any dealings with our customer service agents, or any representations made by us
 (“Claims”), you agree to communicate your Claim to Expedia by contacting Expedia Customer Support or calling 1-877-787-7186. You agree not to
 bring any suit or to initiate arbitration proceedings until 60 days after the date on which you communicated your Claim to Customer Support have
 elapsed. If we are not able to resolve your Claims within 60 days, you may seek relief through arbitration or in small claims court, as set forth below.

 You and Expedia agree that any and all Claims will be resolved by binding arbitration, rather than in court, except that you and we may assert
 Claims on an individual basis in small claims court if they qualify. This includes any Claims you assert against us, our subsidiaries, travel suppliers or
 any companies offering products or services through us (which are beneficiaries of this arbitration agreement). This also includes any Claims that
 arose before you accepted these Terms of Use, regardless of whether prior versions of the Terms of Use required arbitration.

 There is no judge or jury in arbitration, and court review of an arbitration award is limited. However, an arbitrator can award on an
 individual basis the same damages and relief as a court (including statutory damages, attorneys’ fees and costs).The arbitrator must
 follow and enforce these Terms of Use.

 Arbitrations will be conducted by the American Arbitration Association (AAA) under its rules, including the AAA Consumer Rules. Payment of all filing,
 administration and arbitrator fees will be governed by the AAA's rules, except as provided in this section. If your total Claims seek less than $10,000,
 we will reimburse you for filing fees you pay to the AAA and will pay arbitrator’s fees.

 Any and all proceedings to resolve Claims will be conducted only on an individual basis and not in a class, consolidated, or
 representative action. The arbitrator will have authority to decide issues as to the scope of this arbitration agreement and the arbitrability of
 Claims. If for any reason a Claim proceeds in court rather than in arbitration, you and we each waive any right to a jury trial.

 To begin an arbitration proceeding, you must send a letter requesting arbitration and describing your Claims to “Expedia Legal: Arbitration Claim
 Manager,” at Expedia, Inc., 1111 Expedia Group Way W., Seattle, WA 98119. If we request arbitration against you, we will give you notice at the
 email address or street address you have provided. The AAA's rules and filing instructions are available at www.adr.org or by calling 1-800-778-
 7879.

 This arbitration agreement shall be governed by and enforced in accordance with the Federal Arbitration Act and federal arbitration law. An
 arbitration decision may be confirmed by any court with competent jurisdiction.

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 PROHIBITED ACTIVITIES

 The content and information on this Website (including, but not limited to, price and availability of travel services) as well as the infrastructure used
 to provide such content and information, is proprietary to us or our suppliers and providers. While you may make limited copies of your travel
 itinerary (and related documents) for travel or service reservations booked through this Website, you agree not to otherwise modify, copy, distribute,
 transmit, display, perform, reproduce, publish, license, create derivative works from, transfer, or sell or re-sell any information, software, products, or
 services obtained from or through this Website. Additionally, you agree not to:


 1. use this Website or its contents for any commercial purpose;
 2. make any speculative, false, or fraudulent reservation or any reservation in anticipation of demand;
 3. access, monitor or copy any content or information of this Website using any robot, spider, scraper or other automated means or any manual
    process for any purpose without our express written permission;
 4. violate the restrictions in any robot exclusion headers on this Website or bypass or circumvent other measures employed to prevent or limit
    access to this Website;
 5. take any action that imposes, or may impose, in our discretion, an unreasonable or disproportionately large load on our infrastructure;
 6. deep—link to any portion of this Website (including, without limitation, the purchase path for any travel services) for any purpose without our
    express written permission; or
 7. "frame", "mirror" or otherwise incorporate any part of this Website into any other website without our prior written authorization.
 If your booking or account shows signs of fraud, abuse or suspicious activity, Expedia may cancel any travel or service reservations associated with
 your name, email address or account, and close any associated Expedia accounts. If you have conducted any fraudulent activity, Expedia reserves
 the right to take any necessary legal action and you may be liable for monetary losses to Expedia, including litigation costs and damages. To contest
 the cancellation of a booking or freezing or closure of an account, please contact Expedia Customer Service.

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 PRIVACY POLICY

 Expedia Inc. believes in protecting your privacy. Please click here to review our current Privacy Policy, which also governs your use of the Website
 and, as stated above, is incorporated by reference, to understand our practices: Privacy Policy.
 SUPPLIER RULES AND RESTRICTIONS

 Additional terms and conditions will apply to your reservation and purchase of travel—related goods and services that you select. Please
 read these additional terms and conditions carefully. In particular, if you have purchased an airfare, please ensure you read the full terms and
 conditions of carriage issued by the travel supplier, which can be found on the supplier’s website. You agree to abide by the terms and conditions of
 purchase imposed by any supplier with whom you elect to deal, including, but not limited to, payment of all amounts when due and compliance with
 the supplier's rules and restrictions regarding availability and use of fares, products, or services. Airfare is only guaranteed once the purchase has
 been completed and the tickets have been issued. Airlines and other travel suppliers may change their prices without notice. We reserve the right to
 cancel your booking if full payment is not received in a timely fashion.

 In case of a no-show or cancellation, you may be entitled to a refund of airport taxes and fees included in the price of the ticket purchased. Where
 you are eligible for a refund, you can request such a refund from Expedia customer service, who will submit your request to the airline on your
 behalf.

 Expedia may offer you the opportunity to book a reservation for a combination of two one—way tickets instead of a roundtrip ticket. Combined one-
 way tickets may provide a greater choice of flights, are often cheaper and can be combined on the same airline or on different airlines. Unlike
 roundtrip tickets, each one-way ticket is subject to its own rules, restrictions, and fees. If one of these flights is affected by an airline change (e.g.
 cancellation or rescheduling) that causes a Customer to make changes to the other flight, the Customer will be responsible for any fees incurred for
 making changes to the unaffected flight.

 For certain low-cost carriers, the price of your flight has been converted from a different currency for convenience purposes to provide you an
 estimate of the amount of the purchase in your local currency. As a result, when you book, the amount charged to your credit card by the airline may
 be slightly different due to currency fluctuations. Your statement may also include a fee from your card issuer to process the transaction plus any
 applicable taxes for international purchases.

 Federal law forbids the carriage of hazardous materials aboard aircraft in your luggage or on your person. A violation can result in five years'
 imprisonment and penalties of $250,000 or more (49 U.S.C. 5124). Hazardous materials include explosives, compressed gases, flammable liquids
 and solids, oxidizers, poisons, corrosives and radioactive materials. Examples: Paints, lighter fluid, fireworks, tear gases, oxygen bottles, and radio-
 pharmaceuticals. There are special exceptions for small quantities (up to 70 ounces total) of medicinal and toilet articles carried in your luggage and
 certain smoking materials carried on your person.

 You acknowledge that some third-party providers offering certain services and/or activities may require you to sign their liability waiver prior to
 participating in the service and/or activity they offer. You understand that any violation of any such supplier's rules and restrictions may result in
 cancellation of your reservation(s), in your being denied access to the applicable travel product or services, in your forfeiting any monies paid for
 such reservation(s), and/or in our debiting your account for any costs we incur as a result of such violation.

 Expedia is not liable for any costs incurred due to hotel relocation.

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 Sort Order :

 Travelers have many options on to help them find the perfect hotel, flight, car rental, cruise or activity. The “sort” settings at the top of the page
 allows travelers to order search results to their preference, whether based on price, verified review score, or other criteria. The “filter” settings also
 allow travelers to include or exclude various options to suit their travel needs. If no options are selected, we will show a range of relevant options in
 the search results, based on the criteria outlined below:

     Lodging: Our default sort order reflects the relevance of properties to your search criteria, as we want to make sure you are able to quickly and
     easily find the offer that is right for you. We measure relevance by taking into account factors like a property’s location, its review scores, the
     popularity of the property (measured by how many travelers on our sites make bookings at that property), the quality of the content provided by
     the property, and the competitiveness of the property’s rates and availability, all relative to other properties meeting your chosen search criteria.
     The compensation which a property pays us for bookings made through our sites is also a factor for the relative ranking of properties with similar
     offers, based on the relevance factors described above. On our non-default sorts (e.g., by price or by star rating), properties with similar results
     will be ordered based on the factors above.
     Flights: Our default sort order is based on lowest price. In cases where two flights have the same price, the shorter flight is listed first.
     Car Rental: Our default sort order is primarily driven by price, but we may consider other relevant factors such as popularity, customer reviews,
     convenience of pickup location, and car type or category.
     Cruise: Our default sort order is based on a number of relevant factors such as cruise line rating, ship rating, price per day, origin rating,
     destination rating, length of cruise, and booking window.
     Activities: Our default sort order is manually curated by Expedia’s destination managers familiar with each market, taking into account such
     factors as price, popularity, distance from hotel options, and traveler feedback.
     Vacation Packages: When combining several different travel products into a vacation package, we use the criteria outlined above to determine
     the sort order for each product.
 Additionally, we continually optimize our service to provide the best experience to travelers. Accordingly, we may test different default sort order
 algorithms from time to time.

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 PREPAID HOTEL RESERVATIONS

 You acknowledge that the Expedia Companies pre-negotiate certain room rates with hotel suppliers to facilitate the booking of reservations. You also
 acknowledge that the Expedia Companies provide you services to facilitate such booking of reservations for a consideration (the "facilitation fee").
 The room rate displayed on the Website is a combination of the pre-negotiated room rate for rooms reserved on your behalf by the Expedia
 Companies and the facilitation fee retained by the Expedia Companies for their services. You authorize the Expedia Companies to book reservations
 for the total reservation price, which includes the room rate displayed on the Website, plus tax recovery charges, service fees, and where applicable,
 taxes on the Expedia Companies' services. You agree that your credit card will be charged by the Expedia Companies for the total reservation price.
 Upon submitting your reservation request you authorize the Expedia Companies, including Travelscape, LLC, to facilitate hotel reservations on your
 behalf, including making payment arrangements with hotel suppliers.

 You acknowledge that except as provided below with respect to tax obligations on the amounts we retain for our services, the Expedia Companies
 do not collect taxes for remittance to applicable taxing authorities. The tax recovery charges on prepaid hotel transactions are a recovery of the
 estimated taxes (e.g. sales and use, occupancy, room tax, excise tax, value added tax, etc.) that the Expedia Companies pay to the hotel supplier
 for taxes due on the hotel's rental rate for the room. The hotel suppliers invoice the Expedia Companies for certain charges, including tax amounts.
 The hotel suppliers are responsible for remitting applicable taxes to the applicable taxing jurisdictions. None of the Expedia Companies act as co-
 vendors with the supplier with whom we book or reserve our customer's travel arrangements. Taxability and the appropriate tax rate vary greatly by
 location. The actual tax amounts paid by the Expedia Companies to the hotel suppliers may vary from the tax recovery charge amounts, depending
 upon the rates, taxability, etc. in effect at the time of the actual use of the hotel by our customers. We retain service fees as additional compensation
 in servicing your travel reservation. Service fees retained by the Expedia Companies for their services vary based on the amount and type of hotel
 reservation.

 You may cancel or change your prepaid hotel reservation, but you will be charged the cancellation or change fee indicated in the rules and
 restrictions for the hotel reservation. If you do not cancel or change your reservation before the cancellation policy period applicable to the hotel you
 reserved, which varies by hotel (usually 24 to 72 hours) prior to your date of arrival, you will be subject to a charge equal to applicable nightly rates,
 tax recovery charges and service fees. In the event you do not show for the first night of the reservation and plan to check-in for subsequent nights
 in your reservation, you must confirm the reservation changes with us no later than the date of the first night of the reservation to prevent
 cancellation of your reservation.

 You agree to pay any cancellation or change fees that you incur. In limited cases, some hotels do not permit changes to or cancellations of
 reservations after they are made, as indicated in the rules and restrictions for the hotel reservation. You agree to abide by the Terms of Use imposed
 with respect to your prepaid hotel reservations.

 Sales, use and/or local hotel occupancy taxes are imposed on the amounts that we charge for our services (service fee and/or facilitation fee) in
 certain jurisdictions. The actual tax amounts on our services may vary depending on the rates in effect at the time of your hotel stay.

 You may not book reservations for more than 8 rooms online for the same hotel/stay dates. If we determine that you have booked reservations for
 more than 8 rooms in total in separate reservations, we may cancel your reservations, and charge you a cancellation fee, if applicable. If you paid a
 non-refundable deposit, your deposit will be forfeited. If you wish to book reservations for 9 or more rooms, you must contact Expedia’s group travel
 specialists by phone at (800) 916-3290 or by filling out the group travel form online. One of our group travel specialists will research your request
 and contact you to complete your reservation. You may be asked to sign a written contract and/or pay a nonrefundable deposit.

 Some hotel suppliers may require you to present a credit card or cash deposit upon check-in to cover additional expenses incurred during your stay.
 Such deposit is unrelated to any payment received by Expedia, Inc. for your hotel booking.

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 PAY NOW OR PAY LATER DETAILS

 With certain hotels, you may be presented with the option to pay online now or pay later at the hotel. If you select the “Pay Online Now” option,
 Expedia will charge the amount to your credit card in US dollars immediately. If you select “Pay Later at the Hotel”, the hotel will charge your credit
 card in the local currency at the time of your stay. Please note that taxes and fees vary between the two payment options. Tax rates and foreign
 exchange rates could change in the time between booking and stay. Expedia coupons may only be applied to "Pay Online Now" bookings.

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 EXPEDIA UNPUBLISHED RATE RESERVATIONS

 When available, Expedia, Inc.'s subsidiary, Hotwire, Inc., may offer additional, discounted hotel booking options on the Website. These hotels, called
 Expedia Unpublished Rate hotels, are different from other hotels offered on the Website in several important ways. The name and exact address of
 the hotel are not shown until after payment has been made for the booking. All bookings are final and cannot be changed, refunded, exchanged,
 cancelled, or transferred to another party. Your credit card will be charged for the amount shown even if you do not use the booking. Room type will
 be determined by the hotel based on the number of guests provided at time of booking. All reservations are booked for stays in non-smoking rooms
 (subject to availability). Hotel room assignments are determined at check-in and upgrades are not available. The maximum number of Expedia
 Unpublished Rate rooms that can be booked at one time is six. All Expedia Unpublished Rate rooms will be booked under the same name, and the
 guest under whose name the reservation is made must be present at check-in. Expedia Unpublished Rate hotels are not eligible for hotel reward or
 club programs. Upon check-in, guests must present a valid ID and credit card in their name (the amount of available credit required will vary by
 hotel). Debit cards may not be accepted. For information about tax recovery charges, service fees, and taxes on our services, where applicable,
 please see "Prepaid Hotel Reservations."

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 BANK AND CREDIT CARD FEES

 Your payment is processed in the United States, when we process your payment. When the travel supplier processes your payment, it will be
 processed in the country in which the travel supplier is based.

 Expedia or the travel supplier may have to verify: (i) the validity of the payment card (through a charge of a nominal value that is either refunded
 within a few days or deducted from the final payment due to the travel supplier) and, (ii) the availability of funds on the payment card (to be
 confirmed by the bank issuing the your credit card).

 Some banks and credit card companies impose fees for international or cross border transactions. For instance, if you are making a booking using a
 US-issued card with a non-US merchant, your bank may charge you a cross border or international transaction fee. Furthermore, booking
 international travel may be considered an international transaction by your bank or card company, since we may pass your card details to an
 international travel supplier to be charged. In addition, some banks and card companies impose fees for currency conversion. For instance, if you
 are making a booking in a currency other than the currency of your credit card, your credit card company may convert the booking amount to the
 currency of your credit card and charge you a conversion fee. The currency exchange rate and foreign transaction fee is determined solely by your
 bank on the day that they process the transaction. If you have any questions about these fees or the exchange rate applied to your booking, please
 contact your bank.

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 CURRENCY CONVERTER

 If a currency convertor is available on the Website, the following terms and conditions apply: Currency rates are based on various publicly available
 sources and should be used as guidelines only. Rates are not verified as accurate, and actual rates may vary. Currency quotes are not updated
 every day. Check the date on the currency converter feature for the day that currency was last updated. The information supplied by this application
 is believed to be accurate, but the Expedia Companies, the Expedia Partners, and/or our respective suppliers do not warrant or guarantee such
 accuracy. When using this information for any financial purpose, we advise you to consult a qualified professional to verify the accuracy of the
 currency rates. We do not authorize the use of this information for any purpose other than your personal use and you are expressly prohibited from
 the resale, redistribution, and use of this information for commercial purposes.
 EXPEDIA REWARDS

 The Expedia Rewards program (“Program”) is offered to the Website’s customers at the sole discretion of Expedia, Inc., and is open only to
 individuals who have reached the legal age of majority in their respective province/territory of residence, have a valid email address, and have
 enrolled in the Program. Please click here to see the Terms and Conditions of the Program.
 PAY WITH POINTS

 Expedia allows points from selected loyalty programs (“Points Programs”) to be redeemed for certain travel-related goods and services on the
 Website. If you use or register to use any points on the Website these terms and conditions apply. To be eligible to use points on the Website, you
 must have an Expedia.com account, you must have an eligible account with the provider of the Points Program that is active and in good standing,
 and your purchase must exceed minimum transaction value for the use of your points (if any).

 LINKING YOUR ACCOUNT: For Points Programs other than Expedia Rewards (Your Expedia Rewards account is automatically linked to your
 Expedia.com account), your Points Program account (“Account”) will be linked to your Expedia.com account during the registration process on the
 Website. Expedia reserves the right, in its sole discretion, to deny registration, de-link your Account, or terminate your ability to use points on
 Expedia.com for any reason. During and after registration, the Points Program provider may provide Expedia with information about your Account,
 including your points balance.

 REDEEMING POINTS: There is no fee to redeem your points at Expedia.com. Points may only be redeemed for eligible purchases of Expedia
 travel-related goods and services that Expedia will determine in its discretion. Your Points Program provider will deduct from your Account balance
 the amount of points you elect to use toward your eligible purchase. You may not combine points from one Points Program provider with any other
 loyalty points from another provider to complete a single transaction. However, if you do not have enough points to complete an eligible purchase,
 you may use an eligible credit card associated with your Account to complete the transaction. Eligible cards for such transactions may be limited to
 cards associated with the Points Program used in the transaction. Expedia may, in its discretion, allow you to combine points with eligible coupons.

 ADDITIONAL TERMS: Purchases made with points are subject to the point to dollar conversion rate set by the Points Program provider. The Points
 Program provider has the right to change the point to dollar conversion rates at any time. Also, some Points Program providers may set a minimum
 amount of points that may be redeemed in any transaction. Additional terms and conditions may apply and are available at the applicable Points
 Program provider’s website.

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 INTERNATIONAL TRAVEL

 You are responsible for ensuring that you meet foreign entry requirements and that your travel documents, such as passports and visas (transit,
 business, tourist, and otherwise), are in order and any other foreign entry requirements are met. Expedia has no special knowledge regarding
 foreign entry requirements or travel documents. We urge customers to review travel prohibitions, warnings, announcements, and advisories issued
 by the relevant governments prior to booking travel to international destinations.

 Passport and Visa: You must consult the relevant Embassy or Consulate for this information. Requirements may change and you should check for
 up-to-date information before booking and departure. We accept no liability if you are refused entry onto a flight or into any country due to your
 failure to carry the correct and adequate passport, visa, or other travel documents required by any airline, authority, or country, including countries
 you may just be transiting through. This includes all stops made by the aircraft, even if you do not leave the aircraft or airport.

 Health: Recommended inoculations for travel may change and you should consult your doctor for current recommendations before you depart. It is
 your responsibility to ensure that you meet all health entry requirements, obtain the recommended inoculations, take all recommended medication,
 and follow all medical advice in relation to your trip.

 Disinsection: Although not common, most countries reserve the right to disinsect aircraft if there is a perceived threat to public health, agriculture or
 environment. The World Health Organization and the International Civil Aviation Organization have approved the following disinsection procedures:
 (1) spray the aircraft cabin with an aerosolized insecticide while passengers are on board or (2) treat the aircraft's interior surfaces with a residual
 insecticide while passengers are not on board. For more information, see: https://www.transportation.gov/airconsumer/spray

 BY OFFERING RESERVATIONS FOR TRAVEL PRODUCTS IN PARTICULAR INTERNATIONAL DESTINATIONS, EXPEDIA DOES NOT
 REPRESENT OR WARRANT THAT TRAVEL TO SUCH AREAS IS ADVISABLE OR WITHOUT RISK, AND IS NOT LIABLE FOR DAMAGES OR
 LOSSES THAT MAY RESULT FROM TRAVEL TO SUCH DESTINATIONS.

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 particular, the Expedia Companies and Expedia Partners do not guarantee the accuracy of, and disclaim all liability for any errors or other
 inaccuracies relating to the information and description of the hotel, air, cruise, car and other travel products and services displayed on this Website
 (including, without limitation, the pricing, photographs, list of hotel amenities, general product descriptions, etc.). In addition, Expedia, Inc. expressly
 reserves the right to correct any pricing errors on our Website and/or reservations made under an incorrect price. In such event, if available, we will
 offer you the opportunity to keep your reservation at the correct price or we will cancel your reservation without penalty.

 Hotel ratings displayed on this Website are intended as only general guidelines, and the Expedia Companies and Expedia Partners do not
 guarantee the accuracy of the ratings. The Expedia Companies, the Expedia Partners and their respective suppliers make no guarantees about the
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 and/or changes on the Website at any time.

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 does not constitute any endorsement or recommendation of such products or services by the Expedia Companies or the Expedia Partners. All such
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 representations, warranties, breaches or negligence of any such suppliers or for any personal injuries, death, property damage, or other damages or
 expenses resulting there from. The Expedia Companies and the Expedia Partners have no liability and will make no refund in the event of any delay,
 cancellation, overbooking, strike, force majeure or other causes beyond their direct control, and they have no responsibility for any additional
 expenses, omissions, delays, re-routing or acts of any government or authority.

 In no event shall the Expedia Companies, the Expedia Partners and/or their respective suppliers be liable for any direct, indirect, punitive, incidental,
 special or consequential damages arising out of, or in any way connected with, your access to, display of or use of this Website or with the delay or
 inability to access, display or use this Website (including, but not limited to, your reliance upon opinions appearing on this Website; any computer
 viruses, information, software, linked sites, products and services obtaining through this Website; or otherwise arising out of the access to, display of
 or use of this Website) whether based on a theory of negligence, contract, tort, strict liability, consumer protection statutes, or otherwise, and even if
 the Expedia Companies, the Expedia Partners and/or their respective suppliers have been advised of the possibility of such damages.

 If, despite the limitation above, the Expedia Companies, the Expedia Partners or their respective suppliers are found liable for any loss or damage
 which arises out of or in any way connected with any of the occurrences described above, then the liability of the Expedia Companies, the Expedia
 Partners and/or their respective suppliers will in no event exceed, in the aggregate, the greater of (a) the service fees you paid to Expedia, Inc. in
 connection with such transaction(s) on this Website, or (b) One-Hundred Dollars (US$100.00) or the equivalent in local currency.

 The limitation of liability reflects the allocation of risk between the parties. The limitations specified in this section will survive and apply even if any
 limited remedy specified in these Terms of Use is found to have failed of its essential purpose. The limitations of liability provided in these Terms of
 Use inure to the benefit of the Expedia Companies, the Expedia Partners, and/or their respective suppliers.

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 INDEMNIFICATION

 You agree to defend and indemnify the Expedia Companies, the Expedia Partners, and/or their respective suppliers and any of their officers,
 directors, employees and agents from and against any claims, causes of action, demands, recoveries, losses, damages, fines, penalties or other
 costs or expenses of any kind or nature including but not limited to reasonable legal and accounting fees, brought by third parties as a result of:

 1. your breach of these Terms of Use or the documents referenced herein;
 2. your violation of any law or the rights of a third party; or
 3. your use of this Website.
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 LINKS TO THIRD-PARTY SITES

 This Website may contain hyperlinks to websites operated by parties other than Expedia, Inc. Such hyperlinks are provided for your reference only.
 We do not control such websites and are not responsible for their contents or the privacy or other practices of such websites. Further, it is up to you
 to take precautions to ensure that whatever links you select or software you download (whether from this Website or other websites) is free of such
 items as viruses, worms, trojan horses, defects and other items of a destructive nature. Our inclusion of hyperlinks to such websites does not imply
 any endorsement of the material on such websites or any association with their operators.

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 SOFTWARE AVAILABLE ON THIS WEBSITE

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 mobile application (the "Mobile Application") is the copyrighted work of the Expedia Companies and/or our respective suppliers. Your use of such
 Software is governed by the terms of the end user license agreement, if any, which accompanies, or is included with, the Software ("License
 Agreement"). You may not install or use any Software that is accompanied by or includes a License Agreement unless you first agree to the License
 Agreement terms. For any Software made available for download on this Website not accompanied by a License Agreement, we hereby grant to
 you, the user, a limited, personal, non-exclusive, nontransferable license to download, install and use the Software and/or the Mobile Application for
 viewing and otherwise using this Website and/or accessing the content and information available within the Mobile Application (including, without
 limitation, price and availability of travel services) in accordance with these Terms of Use and for no other purpose.

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